Case 1:19-cv-24469-KMW Document 3 Entered on FLSD Docket 10/30/2019 Page 1 of 5




     Oct 30, 2019                                         s/ C.Davis
Case 1:19-cv-24469-KMW Document 3 Entered on FLSD Docket 10/30/2019 Page 2 of 5




     Oct 30, 2019                                         s/ C.Davis
Case 1:19-cv-24469-KMW Document 3 Entered on FLSD Docket 10/30/2019 Page 3 of 5




     Oct 30, 2019                                         s/ C.Davis
Case 1:19-cv-24469-KMW Document 3 Entered on FLSD Docket 10/30/2019 Page 4 of 5




     Oct 30, 2019                                         s/ C.Davis
Case 1:19-cv-24469-KMW Document 3 Entered on FLSD Docket 10/30/2019 Page 5 of 5




     Oct 30, 2019                                         s/ C.Davis
